 Case: 4:10-cr-00510-HEA        Doc. #: 261 Filed: 08/05/11         Page: 1 of 1 PageID #:
                                           662



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )   No. 4:10CR510 HEA
                                               )
ALI T. NAKHLEH,                                )
                                               )
       Defendant.                              )

                                             ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Wednesday, August 24, 2011, at 11:30 a.m. in the courtroom of the undersigned.

       Dated this 5th day of August, 2011.




                                             ________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
